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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF OKLAHOMA

BRYON C. HERD,                               )
                                             )
                      Petitioner,            )
                                             )
vs.                                          )          CIV-20-203-RAW-KEW
                                             )
TOMMY SHARP, Warden,                         )
                                             )
                      Respondent.            )


                                    OPINION AND ORDER
       Now before the court is Petitioner’s application for a writ of habeas corpus pursuant
to 28 U.S.C. § 2254. It has come to the court’s attention that Petitioner was convicted in
Tulsa County, Oklahoma, which is located within the territorial jurisdiction of the Northern
District of Oklahoma. Therefore, in the furtherance of justice, this matter may be more
properly addressed in that district.
       Accordingly, pursuant to 28 U.S.C. § 2241(d), Petitioner’s application for a writ of
habeas corpus is hereby transferred to the Northern District of Oklahoma for all further
proceedings.

       IT IS SO ORDERED this 12th day of January, 2021.



                                                 ___________________________________
                                                 Ronald A. White
                                                 United States District Judge
